        Case 1:25-cv-00333-ABA       Document 61      Filed 03/03/25    Page 1 of 10



                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MARYLAND

NATIONAL ASSOCIATION OF
DIVERSITY OFFICERS IN HIGHER
EDUCATION, et al.,
                                                   Case No. 25-cv-0333-ABA
        Plaintiffs,

   v.

DONALD J. TRUMP, et al.,
        Defendants



               MEMORANDUM OPINION AND ORDER DENYING
               MOTION TO STAY INJUNCTION PENDING APPEAL

        The First Amendment prohibits the government from making any law “abridging

the freedom of speech.” U.S. Const., amdt. I. The government “has no power to restrict

expression because of its message, its ideas, its subject matter, or its content.” Reed v.

Town of Gilbert, 576 U.S. 155, 163 (2015) (quoting Police Dept. of Chicago v. Mosley,

408 U.S. 92, 95 (1972)). Such “[c]ontent-based laws” are “presumptively

unconstitutional.” Id. And although “speech regulation targeted at specific subject

matter is content based even if it does not discriminate among viewpoints within that

subject matter,” id. at 169, the most “egregious form of content discrimination” is

“[g]overnment discrimination among viewpoints—or the regulation of speech based on

‘the specific motivating ideology or the opinion or perspective of the speaker.’” Id. at 168

(quoting Rosenberger v. Rector and Visitors of Univ. of Va., 515 U.S. 819, 829 (1995)).

        As the Court explained in its February 21 opinion granting (in part) Plaintiffs’

motion for a preliminary injunction, the specific executive order provisions at issue in

this case run afoul of these protections, and do so on their face, meaning the provisions


                                              1
      Case 1:25-cv-00333-ABA         Document 61      Filed 03/03/25     Page 2 of 10



themselves, among other things, expressly “draw[] distinctions based on the message a

speaker conveys.” Id. at 163; see ECF No. 44 at 45–48 (Certification Provision), 49–53

(Enforcement Threat Provision), see also id. at 42–43 (holding, with respect to the

Termination Provision, that Plaintiffs have demonstrated a likelihood of success based

on their Fifth Amendment vagueness claim). They punish, or threaten to punish,

individuals and institutions based on the content of their speech, and in doing so they

specifically target viewpoints the government seems to disfavor. ECF No. 44 at 45–53.

The provisions target not only purely private persons who have no nexus to federal

funding, but also “seek to leverage funding to regulate speech” of individuals and

institutions that happen to contract with (or receive grants from) the federal

government, Agency for Int’l Dev. v. All. for Open Soc’y Int’l, Inc., 570 U.S. 205, 214–15

(2013), and they terminate benefits or threaten punishment “because of [individuals’]

speech on matters of public concern,” Bd. of Cnty. Comm’rs, Wabaunsee Cnty., Kan. v.

Umbehr, 518 U.S. 668, 675 (1996) (emphasis omitted), which constitute independent

First Amendment violations. ECF No. 44 at 47–49. The specific provisions at issue also

likely violate the due process clause of the Fifth Amendment. Id. at 38–43, 53–55. After

all, the First and Fifth Amendment analyses in this case merge in several ways, because

laws that “interfere[] with the right of free speech or of association” must pass a

“stringent vagueness test,” Village of Hoffman Estates v. Flipside, Hoffman Estates,

Inc., 455 U.S. 489, 499 (1982), for such a law to give citizens sufficient notice of “what is

prohibited, so that [they] may act accordingly,” and for such a law to provide sufficiently

“explicit standards” to avoid “arbitrary and discriminatory enforcement.” Id. (quoting

Grayned v. City of Rockford, 408 U.S. 104, 108 (1972)).



                                              2
      Case 1:25-cv-00333-ABA          Document 61       Filed 03/03/25     Page 3 of 10



       Because Plaintiffs in this case have shown a strong likelihood of success on the

merits with respect to at least their free speech and vagueness claims, and have shown

that permitting the government to implement the challenged provisions would cause

substantial irreparable harm, the Court issued a preliminary injunction, prohibiting the

implementation of the three challenged provisions, other than with regard to certain

investigation-related portions of the Enforcement Threat provision. ECF No. 45

(preliminary injunction); ECF No. 44 (memorandum opinion). Defendants have

appealed the injunction, ECF No. 47, and now seek to stay the preliminary injunction

while the appeal proceeds. ECF No. 48 (“Motion to Stay”).

       Because the motion-to-stay standard is, in critical respects, the inverse of the

preliminary-injunction standard, the Court has largely already explained why a stay

would be inappropriate. For those reasons, and the additional reasons explained below,

the Court will deny Defendants’ Motion to Stay. The full factual background and

procedural history of this case is outlined in detail in the memorandum opinion. See

ECF No. 44.

I.     DISCUSSION

       A.     Legal Standard

       A preliminary injunction is not stayed after an appeal is taken “[u]nless the court

orders otherwise.” Fed. R. Civ. P. 62(c); see also Fed. R. App. 8(a)(1) (“A party must

ordinarily move first in the district court for . . . an order suspending . . . an injunction

while an appeal is pending.”). There are four factors relevant to the issuance of a stay

pending appeal: “(1) whether the stay applicant has made a strong showing that he is

likely to succeed on the merits; (2) whether the applicant will be irreparably injured

absent a stay; (3) whether issuance of the stay will substantially injure the other parties

                                               3
      Case 1:25-cv-00333-ABA          Document 61       Filed 03/03/25     Page 4 of 10



interested in the proceeding; and (4) where the public interest lies.” Hilton v.

Braunskill, 481 U.S. 770, 776 (1987). The first two factors are “the most critical.” Nken

v. Holder, 556 U.S. 418, 434 (2009). The party seeking a stay carries the burden of

demonstrating that these factors justify a stay. Dep’t of Educ. v. Louisiana, 603 U.S.

866, 868 (2024) (“[T]he burden is on the Government as applicant to show, among

other things, a likelihood of success . . . and that the equities favor a stay.”).

       As noted, the standard for a stay pending appeal is similar to the standard for a

preliminary injunction. See Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 20 (2008)

(“A plaintiff seeking a preliminary injunction must establish that he is likely to succeed

on the merits, that he is likely to suffer irreparable harm in the absence of preliminary

relief, that the balance of equities tips in his favor, and that an injunction is in the public

interest.”); see also Nken, 556 U.S. at 434 (“There is substantial overlap between these

[factors governing issuance of a stay pending appeal] and the factors governing

preliminary injunctions.”).

       B.     Analysis

       Defendants argue these factors weigh in favor of a stay in this case. They contend

they have demonstrated a likelihood of success on the merits, as outlined in their

Memorandum in Opposition to Plaintiffs’ Motion for a Temporary Restraining Order

and/or Preliminary Injunction. ECF No. 48-1 at 3 (citing ECF No. 35 at 5–22). They also

assert that Plaintiffs’ harms are “purely speculative,” but the injunction “threatens

irreparable injuries” to the government and “improperly impedes” agencies from

“implementing the President’s stated priority of enforcing the antidiscrimination laws.”

Id. (citing Maryland v. King, 567 U.S. 1301, 1013 (2012)). Defendants alternatively

argue that if the Court keeps the injunction in place, it should “stay the nationwide

                                               4
      Case 1:25-cv-00333-ABA         Document 61       Filed 03/03/25    Page 5 of 10



application of the injunction,” i.e., limit the application to Plaintiffs and their members. 1

Id. at 4 (citing Labrador v. Poe ex rel. Poe, 144 S. Ct. 921 (2024)).

       Plaintiffs, in turn, argue that just as a preliminary injunction is warranted for the

reasons the Court explained in its February 21 memorandum opinion, the same reasons

counsel denial of a stay pending appeal, and further emphasize that there are no

changed circumstances since entry of the preliminary injunction that would justify the

“extraordinary remedy” of a stay pending appeal. ECF No. 53 at 3–5 (quoting Nken, 556

U.S. at 428). As for Defendants’ alternative argument about the application of the

injunction to non-parties, Plaintiffs contend that the relevant factors, including squarely

applicable caselaw from the Fourth Circuit, support the injunction as entered. Id. at 9

(citing HIAS, Inc. v. Trump, 985 F.3d 309 (4th Cir. 2021); see also ECF No. 60

(“Plaintiffs’ Notice of Supplemental Authority”) (citing CASA, Inc. v. Trump, No. 25-

1153, 2025 WL 654902 (4th Cir. 2025)).

       Applying the Nken standards for a motion to stay pending appeal, the Court

concludes that all the factors militate against a stay, and against narrowing the

preliminary injunction to Plaintiffs and their members. Defendants have not established

a strong likelihood of success on the merits. Indeed, because Defendants point only to

their opposition brief as support for this first factor, the Court has already considered—

and rejected—the argument that Defendants are likely to succeed on the merits. See ECF

No. 44 at 15–55 (Section III, “Likelihood of Success on the Merits”). That leaves the



1 As the Court noted in its memorandum opinion, the term “nationwide” is a misnomer

and “[t]he relevant question is whether, in light of the claims and Plaintiffs’ showing of
likelihood of success on the merits, including similarly situated non-parties within the
scope of an injunction would be appropriate.” See ECF No. 44 at 60.

                                              5
      Case 1:25-cv-00333-ABA         Document 61      Filed 03/03/25     Page 6 of 10



government’s argument that the preliminary injunction should be stayed because it

harms “intra-executive policy implementation by enjoining the President’s policy

directives to federal agencies” and improperly impedes federal agencies from enforcing

antidiscrimination laws. ECF No. 48-1 at 3. As the Court explained in its memorandum

opinion granting the preliminary injunction, the executive branch is obviously entitled

to have policy goals and to pursue them. But in pursuing those goals it must comply with

the Constitution, including, as relevant here, the Free Speech Clause of the First

Amendment, and the Due Process Clause of the Fifth Amendment. See ECF No. 44 at 3,

48.

       And although the aforementioned factors are the “most critical,” Nken, 556 U.S.

at 434, the remaining factors (balance of the harms and the public interest) also weigh

against a stay in this case. As the Court has explained, although the case is presently in

its preliminary stages, several of the challenged provisions clearly, on their face, violate

First Amendment free speech protections. ECF No. 44 at 59 (noting that “chilling of

unquestionably protected speech” is a serious harm attributable to the challenged

provisions). And when balancing the harms, the chilling of the exercise of fundamental

First Amendment rights weighs strongly in favor of the preliminary injunction, and

against a stay pending appeal. The recognized harm of chilled speech is precisely why,

for instance, there are relaxed standing and ripeness requirements in First Amendment

cases. See, e.g., Cooksey v. Futrell, 721 F.3d 226, 234 (4th Cir. 2013) (explaining that

standing requirements are “somewhat relaxed” in First Amendment cases). Likewise,

Plaintiffs have shown a likelihood of success on the merits based on the unconstitutional

vagueness of the challenged provisions. See Mills v. District of Columbia, 571 F.3d 1304,

1312 (D.C. Cir. 2009) (“[T]he loss of constitutional freedoms, ‘for even minimal periods

                                              6
      Case 1:25-cv-00333-ABA         Document 61       Filed 03/03/25     Page 7 of 10



of time, unquestionably constitutes irreparable injury.’”) (citation omitted). Defendants

have offered no new evidence or arguments that justify a reassessment of the balance of

the harms or the public interest considerations in this case.

       Finally, Defendants argue that even if a stay pending appeal is not justified, the

Court should stay the injunction insofar as it bars application of the enjoined provisions

to parties other than Plaintiffs and their members. ECF No. 48-1 at 4 (citing Gill v.

Whitford, 585 U.S. 48, 66 (2018); Lewis v. Casey, 518 U.S. 343, 360 (1996); Califano v.

Yamasaki, 442 U.S. 682, 702 (1979); Trump v. Hawaii, 585 U.S. 667, 717 (2018)

(Thomas, J., concurring); and Labrador v. Poe ex rel. Poe, 144 S. Ct. 921, 927 (2024)

(Gorsuch, J., concurring)). Plaintiffs specifically explain why Labrador is inapposite,

and further argue that, “as this Court rightly concluded, this case is on all fours with the

Fourth Circuit’s decision in HIAS, Inc. v. Trump, 985 F.3d 309 (4th Cir. 2021).” ECF

No. 53 at 9.

       As the Court previously explained in identifying the appropriate contours of a

preliminary injunction, an injunction that extends to non-parties may be particularly

“appropriate” where, as here, “the government relies on a ‘categorical policy,’ and when

the facts would not require different relief for others similarly situated to the plaintiffs.”

HIAS, 985 F.3d at 326 (quoting Roe v. Dep’t of Def., 947 F.3d 207, 231 (4th Cir. 2020)).

And here, because Plaintiffs have shown a likelihood of proving a “constitutional

violation,” the Court is “required to tailor the scope of the remedy to fit the nature and

extent of the constitutional violation.” Hills v. Gautreaux, 425 U.S. 284, 293–94 (1976)

(citations and internal quotation marks omitted); see also, e.g., Trump v. Int’l Refugee

Assistance Project, 582 U.S. 571, 582 (2017) (affirming preliminary injunction insofar as

it applied to parties “similarly situated” to the plaintiffs, including any “foreign nationals

                                              7
         Case 1:25-cv-00333-ABA       Document 61       Filed 03/03/25     Page 8 of 10



who have a credible claim of a bona fide relationship with a person or entity in the

United States,” and only holding that the injunction was overly broad insofar as it also

applied to “foreign nationals abroad who have no connection to the United States at

all”).

         The government’s cited cases do not counsel otherwise. Gill, for example, was a

gerrymandering case; there, whether a particular plaintiff was harmed by a particular

gerrymander, or could prove a constitutional violation, was “district specific.” 585 U.S.

at 66; see also id. at 67 (“Here, the plaintiffs’ partisan gerrymandering claims turn on

allegations that their votes have been diluted. That harm arises from the particular

composition of the voter’s own district, which causes his vote—having been packed or

cracked—to carry less weight than it would carry in another, hypothetical district.

Remedying the individual voter’s harm, therefore, does not necessarily require

restructuring all of the State’s legislative districts. It requires revising only such districts

as are necessary to reshape the voter’s district—so that the voter may be unpacked or

uncracked, as the case may be.”). In Lewis, which related to incarcerated persons’ access

to legal research materials and related support, the reason the Supreme Court held that

the plaintiffs there were not entitled to “systemwide relief” was because plaintiffs had

only proven “actual injury on the part of only one named plaintiff,” specifically tied to

whether he was entitled to “special services that [he] would have needed, in light of his

illiteracy, to avoid dismissal of his case.” 518 U.S. at 358–60. In Califano, the question

was the propriety of certification under Rule 23 of a “nationwide class,” and there the

Supreme Court held that it was, under the circumstances presented in that case. 442

U.S. at 702–03.



                                               8
      Case 1:25-cv-00333-ABA         Document 61      Filed 03/03/25     Page 9 of 10



       As to the concurring opinions the government cites from Labrador v. Poe and

Trump v. Hawaii, neither compels narrowing the preliminary injunction here. As for

Justice Gorsuch’s opinion concurring in the grant of a stay in Labrador, the principal

deficiency of the underlying injunction that Justice Gorsuch identified was the fact that

it extended to every aspect of the Idaho statute at issue, “even though no party before

the court” had challenged most aspects or applications of the statute. 144 S. Ct. at 921–

22 (Gorsuch, J., concurring). Justice Gorsuch’s Labrador concurrence advises lower

courts to consider a number of factors in deciding whether an injunction is justified in a

given case, and in shaping the appropriate contours of such injunctions. See, e.g., id. at

927–28. In addition, in a concurring opinion in Trump v. Hawaii, Justice Thomas

expressed a general skepticism of district courts’ authority to enter so-called “universal”

injunctions at all. 585 U.S. at 713 (Thomas, J., concurring). The Court has carefully

considered those factors and recognizes that preliminary injunctions generally

encompass, and should encompass, only parties to a given litigation. But, as the Court

has explained, the specific provisions included within the scope of the injunction have

the effect of infringing on core constitutional protections, including freedom of speech

and the right to notice and avoidance of arbitrary enforcement under the Fifth

Amendment. See, e.g., ECF No. 44 at 59. The need to encompass nonparties within the

scope of this Court’s injunction in this case arises from the facial constitutional

deficiencies in the enjoined provisions themselves. The only way to effectively prevent

these constitutional violations and mitigate their irreparable harm is to include non-

parties within the scope of the preliminary injunction.

       Finally, the Fourth Circuit’s decision last week in CASA, Inc. v. Trump further

supports denial of a stay. In that case, the Fourth Circuit, applying the “traditional

                                             9
      Case 1:25-cv-00333-ABA        Document 61       Filed 03/03/25     Page 10 of 10



factors laid out in Nken v. Holder,” denied a motion seeking a partial stay of a

preliminary injunction pending appeal. CASA, 2025 WL 654902, at *1. The Fourth

Circuit also noted that “[n]otwithstanding . . . reservations” expressed in “separate

writings by Supreme Court Justices,” the Supreme Court has “allowed most universal

injunctions to remain in effect during the course of litigation.” Id. The CASA court

specifically observed that the executive action challenged there was a “categorical

policy” as to which the “facts would not require different relief for others similarly

situated,” and that an injunction limited to the parties “would be unworkable in practice

and thus fail to provide complete reliefs to the plaintiffs.” Id. (citations omitted). As

explained above, those considerations apply with equal force here.

       The executive branch must, of course, comply with the Constitution, including

the Free Speech Clause of the First Amendment and the Due Process Clause of the Fifth

Amendment. The Court’s preliminary injunction is “no more burdensome to the

defendant than necessary to provide complete relief to the plaintiffs,” and has been

“mold[ed] . . . to meet the exigencies of the particular case.” HIAS, 985 F.3d at 326

(quoting Roe, 947 F.3d at 231).

II.    CONCLUSION

       For the foregoing reasons, Defendants’ Motion to Stay Injunction Pending

Appeal, ECF No. 48, is DENIED.



Date: March 3, 2025                                      /s/
                                                   Adam B. Abelson
                                                   United States District Judge




                                              10
